     Case 2:20-cv-01394-JCM-BNW Document 25 Filed 10/20/20 Page 1 of 3



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15
                                 UNITED STATES DISTRICT COURT
16
                                           DISTRICT OF NEVADA
17
       THE BANK OF NEW YORK MELLON                       Case No.: 2:20-cv-01394-JCM-BNW
18     TRUST COMPANY,
                                                         STIPULATION AND ORDER TO
19                            Plaintiff,                 EXTEND TIME PERIOD TO
                                                         RESPOND TO COMPLAINT [ECF No.
20                    vs.                                1]
21     CHICAGO TITLE INSURANCE                           [FOURTH REQUEST]
       COMPANY et al.,
22
                              Defendants.
23

24
            COMES NOW defendant Chicago Title Insurance Company (“Chicago Title”) and

25
     plaintiff The Bank of New York Mellon Trust Company (“BONY”), by and through their

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     respective attorneys of record, which hereby agree and stipulate as follows:

27
            1.      On July 27, 2020 BONY filed its complaint in the instant action. (ECF No. 1.);

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            2.      On August 21, 2020, the Court granted the Parties’ stipulation to extend Chicago

                                                     1
                                           STIPULATION AND ORDER
     Case 2:20-cv-01394-JCM-BNW Document 25 Filed 10/20/20 Page 2 of 3



 1   Title’s deadline to respond to the Complaint (ECF No. 10.);
 2          3.      On September 22, 2020, the Court granted the Parties’ second stipulation to extend
 3   Chicago Title’s deadline to respond to the Complaint (ECF No. 16);
 4          4.      On October 7, 2020, the Court granted the Parties’ third stipulation to extend
 5   Chicago Title’s deadline to respond to the Complaint (ECF No. 20);
 6          5.      Chicago Title’s current deadline to respond to the Complaint is October 21, 2020;
 7          6.      The Parties are currently engaged in settlement negotiations, and one Party is
 8   currently considering the other Party’s settlement offer;
 9          7.      Chicago Title requests a 30-day extension of its deadline to respond to BONY’s
10   complaint, until November 20, 2020, so that neither party is forced to incur additional fees
11   relating to the defense of this action while the Parties are pursuing informal resolution of this
12   dispute;
13          8.      By entering into this stipulation Chicago Title does not waive any potential
14   defenses under Fed. R. Civ. P. 12;
15          9.      BONY does not oppose the requested extension;
16          10.     This is the fourth request for an extension which is made in good faith and not for
17   purposes of delay;
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                                          STIPULATION AND ORDER
     Case 2:20-cv-01394-JCM-BNW Document 25 Filed 10/20/20 Page 3 of 3



 1         IT IS SO STIPULATED that Chicago Title’s deadline to respond to the complaint is
 2   hereby extended through and including November 20, 2020.
 3   Dated: October 16, 2020                   SINCLAIR BRAUN LLP
 4

 5                                             By:    /s/-Kevin S. Sinclair
                                                     KEVIN S. SINCLAIR
 6                                                   Attorneys for Defendants
                                                     CHICAGO TITLE INSURANCE COMPANY
 7
     Dated: October 16, 2020                   WRIGHT FINLAY & ZAK, LLP
 8

 9
                                               By:    /s/-Lindsay D. Robbins
10
                                                     LINDSAY D. ROBBINS
                                                     Attorneys for Plaintiff
11
                                                     THE BANK OF NEW YORK MELLON
                                                     TRUST COMPANY
12

13   IT IS SO ORDERED.
     IT IS SO ORDERED
14          Dated this _____ day of _____________, 2020.
     DATED: 11:31 am, October 20, 2020
15                                             __________________________________________
                                              BRENDA WEKSLER
16                                            UNITED STATES MAGISTRATE JUDGE
17   BRENDA WEKSLER
     UNITED STATES MAGISTRATE JUDGE
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                                     STIPULATION AND ORDER
